        Case 3:18-cv-02300-WHA Document 271 Filed 12/21/20 Page 1 of 1




                                 Paul S. Rothstein, P.A.
                                  ATTORNEY AT LAW

626 N.E. First Street                                                 151 S.E. Eighth Street
Gainesville, Florida 32601                                            Ocala, Florida 34471

Gainesville: (352) 376-7650                                           Ocala: (352) 351-8582
Fax: (352) 374-7133                                                   Lake City: (904) 752-5755


                                       December 21, 2020
FILED VIA ECF
Honorable William H. Alsup
U.S. District Court for the Northern District of California
San Francisco Courthouse, Courtroom 8 - 19th Floor
450 Golden Gate Avenue, San Francisco, CA 94102

                              Re:    Bronson et al. v. Samsung Electronics America, Inc. et al;
                                     Case No.: 3:18 – CV – 2300 – WHA;


Dear Judge Alsup,
In our briefing filed on December 4, 2020 [Dkt. 263], I misstated law from the Ninth Circuit in
citing Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992). Mr. Rothstein,
in his argument on December 21, 2020, relied on that briefing. I appreciate that the record was
cleared and the correct law stated for the record. I understand Courts rely heavily on accurate
argument from the counsel before them – advocacy must never cross that line. Although my
mistake was honest (not intentionally provided to mislead the Court), its inadvertence does not
“un-ring” the bell. In a profession that relies on the integrity of our word, both written and
spoken, I sincerely apologize to the Court and opposing counsel for the error. I move forward
humbled and ever so human.

                                             Sincerely,
                                             \s\Kyla V. Alexander
                                             Kyla V. Alexander
                                             Counsel for Plaintiffs

CC via ECF: Counsel for Samsung Electronics America, Inc.
and Samsung Electronics Co., Ltd.
